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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                       BEAUMONT DIVISION

JACKIE HAMBY                                        §

VS.                                                 §      CIVIL ACTION NO. 1:22-CV-335

R. MALLET                                           §

                           ORDER ADOPTING THE MAGISTRATE
                         JUDGE’S REPORT AND RECOMMENDATION

        Plaintiff Jackie Hamby, a prisoner confined at the Hightower Unit of the Texas Department

of Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this civil rights action

pursuant to 42 U.S.C. § 1983 against R. Mallet.

        The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court.

The magistrate judge has submitted a Report and Recommendation of United States Magistrate

Judge. The magistrate judge recommends dismissing the action for want of prosecution pursuant

to Federal Rule of Civil Procedure 41(b).

        The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. Proper notice

was given to Plaintiff at his last known address. See FED. R. CIV. P. 5(b)(2)(c). No objections to the

Report and Recommendation of United States Magistrate Judge were filed by the parties.
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                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

and the report of the magistrate judge [Dkt. 5] is ADOPTED. A final judgment will be entered in

this case in accordance with the magistrate judge’s recommendation.

                                         SIGNED this 1st day of December, 2022.




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                                                                        Michael J. Truncale
                                                                        United States District Judge




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